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                                                                          November 10, 2022

VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

                        Re:      Carroll v. Trump, 20 Civ. 07311 (LAK)(JLC)

Dear Judge Kaplan:

        We write to respectfully request a scheduling conference at the Court’s convenience.

        As Your Honor is aware, trial in this matter is scheduled to begin on February 6, 2023,
with a joint pre-trial order and motions in limine due on December 1 and 8, 2022, respectively.
See ECF 77. Fact discovery closed on October 19, 2022, and the parties agree that ongoing expert
discovery should be completed. Plaintiff E. Jean Carroll also intends to file a separate action
against Defendant Donald J. Trump on November 24, 2022, raising a claim of battery pursuant to
the Adult Survivors Act and a new claim of defamation relating to an October 12 statement that
Defendant made about Plaintiff.1 The D.C. Court of Appeals recently set an expedited briefing
schedule and ordered oral argument to be held on January 10, 2023, in connection with the
respondeat superior question certified to that court by the Second Circuit. See Ex. A.

       In light of the D.C. Court of Appeals’ scheduling order, and to ensure the efficiency of
these proceedings, we respectfully request a conference to discuss the trial date in this matter.
Defendant consents to this request.




1
 Donald J. Trump (@realDonaldTrump), Truth Social (Oct. 12, 2022, 10:38 PM),
https://truthsocial.com/@realDonaldTrump/posts/109158644496040450.
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                                                     Respectfully submitted,



                                                     Roberta A. Kaplan


cc:   Counsel of Record (via ECF)
